
541-543 West 150th Street LLC,
againstKeith Allen,



Landlord appeals from an order of the Civil Court of




the City of New York, New York County (Jean T. Schneider, J.), dated February 1, 2018, which granted tenant's motion to vacate the warrant of eviction and marked the final judgment satisfied without prejudice to February 2018 rent, in a nonpayment summary proceeding.
Per Curiam.
Order (Jean T. Schneider, J.), dated February 1, 2018, affirmed, with $10 costs.
Under the particular facts and circumstances of record in this nonpayment proceeding, Civil Court providently exercised its discretion and vacated the warrant of eviction so as to preserve the long-term [16-year] stabilized tenancy (see Matter of Lafayette Boynton Hsg. Corp. v Pickett, 135 AD3d 518 [2016]; Harvey 1390 LLC v Bodenheim, 96 AD3d 664 [2012]; 102-116 Eighth Ave. Assoc. v Oyola, 299 AD2d 296 [2002]; Parkchester Apts. Co. v Scott, 271 AD2d 273 [2000]). Good cause sufficient to warrant the requested relief, upon the tender of full rent arrears due, was provided by several factors, including tenant's diligent efforts to obtain governmental and charitable rental assistance, his resumption of full-time employment and the absence of a "time of the essence" provision in the parties' stipulation. Furthermore, on a prior occasion during the pendency of this proceeding, tenant tendered the full rent arrears then due, except for funds withheld by the Department of Social Services pursuant to the Spiegel Law (see Social Services Law § 143—b).
The doctrine of the law of the case, which is not binding upon an appellate court, does not warrant a contrary result (see Martin v City of Cohoes, 37 NY2d 162, 165 [1975]), since the "circumstances which had precipitated the prior order, which had been issued by a different Judge, had plainly altered" at the time of the second application (Solow v Wellner, 186 AD2d 21, 22 [1992]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur 
Decision Date: June 21, 2018










